                Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 1 of 18



 1                                                             The Honorable John C. Coughenour

 2

 3

 4

 5

 6
                                         UNITED STATES DISTRICT COURT
 7                                      WESTERN DISTRICT OF WASHINGTON
                                                  AT SEATTLE
 8
   AMAZON.COM SERVICES LLC, a Delaware
 9 limited liability company,                               No. 2:22-cv-01404-JCC

10                                      Plaintiff,          REPLY IN SUPPORT OF
                                                            PLAINTIFF’S MOTION FOR
11            v.                                            SUMMARY JUDGMENT

12 JOEL SACKS, in his official capacity as the              NOTE ON MOTIONS CALENDAR:
   Director of the Department of Labor & Industries of      January 6, 2023
13 the State of Washington, and the DEPARTMENT
   OF LABOR & INDUSTRIES of the State of
14 Washington,

15                                      Defendants.

16

17

18
19

20

21

22

23

24

25

26

27

     REPLY I/S/O PL.’S MOT. SUMM. J.
                                                                           Davis Wright Tremaine LLP
     No. 2:22-cv-01404-JCC                                                          L AW O FFICE S
     4870-7795-2070v.2 0051461-005031                                         920 Fifth Avenue, Suite 3300
                                                                                Seattle, WA 98104-1610
                                                                         206.622.3150 main · 206.757.7700 fax
              Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 2 of 18



 1                                                 TABLE OF CONTENTS

 2                                                                                                                                           Page

 3 I.       INTRODUCTION ............................................................................................................ 1
 4 II.      LEGAL ARGUMENT ...................................................................................................... 1
 5          A.        Amazon Has Standing to Challenge WISHA’s Abatement Procedures. .............. 1
 6                    1.         Plaintiffs Need Not Exhaust Unconstitutional Processes. ........................ 1
 7
                      2.         L&I’s Prejudice Argument Does Not Defeat Standing. ........................... 2
 8
            B.        L&I’s Attack on Amazon’s As-Applied Challenge Lacks Merit. ........................ 3
 9
                      1.         L&I’s Arguments Do Not Defeat Amazon’s Showing of a
10                               Sufficient Property Interest under the First Mathews Factor. ................... 3
11                    2.         L&I’s Arguments Do Not Defeat Amazon’s Showing of a Risk of
                                 Erroneous Deprivation under the Second Mathews Factor....................... 5
12

13                               a.        Denying a Stay Request Due to Late Employee Notice
                                           Increases the Risks of Error. ......................................................... 5
14
                                 b.        The Supposed Safeguards Are Inadequate. .................................. 6
15
                                 c.        WISHA’s Stay Procedures Do Not Comport with Due
16                                         Process. ......................................................................................... 6
17                    3.         L&I’s Analysis of the Third Mathews Factor Is Also Flawed. ................. 8
18          C.        L&I’s Opposition to Amazon’s Facial Challenge Also Fails. ............................ 10
19
            D.        L&I’s Response to Amazon’s Substantive Due Process Challenge Fails. ......... 11
20
     III.   CONCLUSION ............................................................................................................... 12
21

22

23

24

25

26

27


     REPLY I/S/O PL.’S MOT. SUMM. J.                                                                        Davis Wright Tremaine LLP
                                                                                                                     L AW O FFICE S
     No. 2:22-cv-01404-JCC- i                                                                                  920 Fifth Avenue, Suite 3300
                                                                                                                 Seattle, WA 98104-1610
                                                                                                          206.622.3150 main · 206.757.7700 fax
                   Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 3 of 18



 1                                                   TABLE OF AUTHORITIES

 2                                                                                                                                      Page(s)

 3 Federal Cases

 4 Bd. of Regents of State Colls. v. Roth,
       408 U.S. 564 (1972) ...............................................................................................................4, 9
 5
   City of Los Angeles, Calif. v. Patel,
 6
       576 U.S. 409 (2015) ...........................................................................................................10, 11
 7
   Clapper v. Amnesty Int’l USA,
 8     568 U.S. 398 (2013) ...................................................................................................................2

 9 D.L. v. Unified School District No. 497,
      596 F.3d 768 (10th Cir. 2010) ...................................................................................................2
10
   Doe #1 v. Trump,
11
      957 F.3d 1050 (9th Cir. 2020) .................................................................................................11
12
   Gen. Elec. Co. v. Jackson,
13    595 F. Supp. 2d 8 (D.D.C. 2009) ...............................................................................................4

14 Jackson v. St. Charles Par. Hous. Auth. Bd. of Comm’rs,
      441 F. Supp. 3d 341 (E.D. La. 2020) .........................................................................................2
15
   Jones v. Cavazos,
16    889 F.2d 1043 (11th Cir. 1989) .................................................................................................2
17
   Knick v. Twp. of Scott,
18    139 S. Ct. 2162 (2019) ...............................................................................................................1

19 Mathews v. Eldridge,
      424 U.S. 319 (1976) ...........................................................................................................3, 5, 8
20
   Mohamed v. Holder,
21    995 F. Supp. 2d 520 (E.D. Va. 2014) ........................................................................................1
22 Mwimanzi v. Wilson,

23   590 F. Supp. 3d 231 (D.D.C. 2022) .........................................................................................10

24 Patsy v. Bd. of Regents of State of Fla.,
      457 U.S. 496 (1982) ...................................................................................................................1
25
   Pucket v. Hot Springs School District No. 23-2,
26    526 F.3d 1151 (8th Cir. 2008) ...................................................................................................2
27


      REPLY I/S/O PL.’S MOT. SUMM. J.                                                                       Davis Wright Tremaine LLP
                                                                                                                     L AW O FFICE S
      No. 2:22-cv-01404-JCC- ii                                                                                920 Fifth Avenue, Suite 3300
                                                                                                                 Seattle, WA 98104-1610
                                                                                                          206.622.3150 main · 206.757.7700 fax
                   Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 4 of 18



 1 Swanson v. Worley,
      490 F.3d 894 (11th Cir. 2007) ...................................................................................................2
 2
   Taylor v. FDIC,
 3    132 F.3d 753 (D.C. Cir. 1997) ...................................................................................................2
 4 Tennessee Valley Authority v. Whitman,

 5    336 F.3d 1236 (11th Cir. 2003) .............................................................................................7, 8

 6 Van Ort v. Estate of Stanewich,
       92 F.3d 831 (9th Cir. 1996) .......................................................................................................3
 7
   Vilchez v. Holder,
 8     682 F.3d 1195 (9th Cir. 2012) ...................................................................................................3
 9 W. & A.R.R. v. Henderson,
      279 U.S. 639 (1929) .................................................................................................................12
10

11 YCS Investments v. United States Fish and Wildlife Service,
      833 F. App’x 712 (9th Cir. 2021) ..............................................................................................2
12
   Zinermon v. Burch,
13    494 U.S. 113 (1990) ...............................................................................................................6, 9
14 State Cases

15 Mansour v. King County,

16    131 Wn. App. 255 (2006) .........................................................................................................9

17 In Re: Duling Enters., LLC DBA Stuffy’s II Rest.,
       2022 WL 3650260 (Wash. Bd. Ind. Ins. App. July 20, 2022) ...................................................1
18
   Yakima Cnty. Clean Air Auth. v. Glascam Builders, Inc.,
19     85 Wn.2d 255 (1975) .................................................................................................................1
20 Federal Statutes

21 42 U.S.C. § 1983 ......................................................................................................................1, 2, 3

22
      State Statutes
23
      RCW 7.16.040 .................................................................................................................................6
24
      Chapter 42.56 RCW .........................................................................................................................8
25
      RCW 49.17.130 ...............................................................................................................................9
26
      RCW 49.17.140 .....................................................................................................................7, 9, 10
27


      REPLY I/S/O PL.’S MOT. SUMM. J.                                                                           Davis Wright Tremaine LLP
                                                                                                                         L AW O FFICE S
      No. 2:22-cv-01404-JCC- iii                                                                                   920 Fifth Avenue, Suite 3300
                                                                                                                     Seattle, WA 98104-1610
                                                                                                              206.622.3150 main · 206.757.7700 fax
                   Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 5 of 18



 1 Rules

 2 Fed. R. Evid. 407 ...........................................................................................................................12

 3 Wash. Civ. R. 65 ..............................................................................................................................9

 4 Regulations

 5 WAC 263-12-059...............................................................................................................2, 3, 7, 10

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27


      REPLY I/S/O PL.’S MOT. SUMM. J.                                                                          Davis Wright Tremaine LLP
                                                                                                                        L AW O FFICE S
      No. 2:22-cv-01404-JCC- iv                                                                                   920 Fifth Avenue, Suite 3300
                                                                                                                    Seattle, WA 98104-1610
                                                                                                             206.622.3150 main · 206.757.7700 fax
               Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 6 of 18



 1                                       I.    INTRODUCTION

 2          None of the arguments advanced by L&I in opposition to Amazon’s Motion for Summary

 3 Judgment creates a genuine dispute of material fact. L&I merely recites the same flawed

 4 arguments it advanced in its Motion to Dismiss [Dkt. 10]. Because WISHA’s pre-hearing

 5 abatement requirement and its perfunctory stay procedures violate the Due Process Clause of the

 6 Fourteenth Amendment by permanently depriving employers of substantial property (here, tens of

 7 millions of dollars in abatement costs) before giving them a meaningful opportunity to challenge

 8 the government’s claims, the Court should grant Amazon’s Motion for Summary Judgment and

 9 issue appropriate declaratory relief.
10                                     II.    LEGAL ARGUMENT

11        A.      Amazon Has Standing to Challenge WISHA’s Abatement Procedures.

12                  1.     Plaintiffs Need Not Exhaust Unconstitutional Processes.

13          According to L&I, for Amazon to have standing to challenge WISHA’s pre-hearing

14 abatement obligation and stay regime, Amazon must first exhaust the entire unconstitutional

15 process and receive an adverse decision on the merits of its stay request. See Dkt. 19 at 9. L&I is

16 wrong.

17          “[T]he general rule [is] that federal courts cannot require exhaustion under § 1983.” Patsy

18 v. Bd. of Regents of State of Fla., 457 U.S. 496, 512 (1982); see also Knick v. Twp. of Scott, 139
19 S. Ct. 2162, 2167 (2019). One reason for this rule is that administrative tribunals, like the Board,

20 lack authority to address due process challenges to the regimes they administer. See Yakima Cnty.

21 Clean Air Auth. v. Glascam Builders, Inc., 85 Wn.2d 255, 257 (1975) (“An administrative tribunal

22 is without authority to determine the constitutionality of a statute.”); In Re: Duling Enters., LLC

23 DBA Stuffy’s II Rest., 2022 WL 3650260, at *5 (Wash. Bd. Ind. Ins. App. July 20, 2022) (“[t]he

24 Board does not have authority to address constitutional issues”). There are thus no efficiencies to

25 be gained by requiring a party challenging the constitutionality of an administrative regime to

26 submit to the same unconstitutional procedures it seeks to invalidate as violating the Due Process

27 Clause. See Mohamed v. Holder, 995 F. Supp. 2d 520, 533 (E.D. Va. 2014) (“administrative


     REPLY I/S/O PL.’S MOT. SUMM. J.                                          Davis Wright Tremaine LLP
                                                                                       L AW O FFICE S
     No. 2:22-cv-01404-JCC- 1                                                    920 Fifth Avenue, Suite 3300
                                                                                   Seattle, WA 98104-1610
                                                                            206.622.3150 main · 206.757.7700 fax
               Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 7 of 18



 1 remedies are almost always inadequate to address procedural due process challenges to those

 2 remedies”); Jackson v. St. Charles Par. Hous. Auth. Bd. of Comm’rs, 441 F. Supp. 3d 341, 353

 3 (E.D. La. 2020) (“it is well-established that § 1983 claims do not require exhaustion of state

 4 administrative or judicial remedies.”). Here, Amazon’s Complaint challenges the constitutionality

 5 of WISHA’s entire stay of abatement process, including the Board’s policy of reflexively denying

 6 stay requests because an employer provided employees with late notice of the appeal. See Dkt. 1

 7 at 8, ¶ 29. Because the Board lacks jurisdiction to decide constitutional issues, see Dkt. 13-1 at

 8 236, 248-49, exhaustion of state administrative procedures is not required, and Amazon has

 9 standing. Dkt. 28 at 10-13.1
10                    2.      L&I’s Prejudice Argument Does Not Defeat Standing.

11           L&I argues that Amazon cannot show it was prejudiced by WISHA’s stay of abatement

12 procedures because Amazon’s late compliance with the employee notice provision breaks the

13 chain of causation. Dkt. 19 at 10.2 But L&I ignores the fact that Amazon challenges not just the

14 perfunctory stay procedures but also the rule requiring automatic denial of a stay if an employer

15
     1
16     The few cases upon which L&I relies are inapposite. See, e.g., Dkt. 28 at 13 (distinguishing Clapper v.
     Amnesty Int’l USA, 568 U.S. 398 (2013)). In Swanson v. Worley, 490 F.3d 894, 896-97 (11th Cir. 2007), a
17   plaintiff had standing to challenge a voter signature requirement because the injury—omission from a
     general ballot—was traceable to non-compliance with that provision. Id. at 903 n.10. Here, Amazon
18   challenged the entire stay regime, not just the Board’s application of WAC 263-12-059(4). But if that
     provision were all Amazon had challenged, then, as in Swanson, Amazon would still have standing because
19   that provision contributed to the denial of a meaningful opportunity to challenge L&I’s allegations before
     being permanently deprived of property. In Jones v. Cavazos, 889 F.2d 1043, 1047 (11th Cir. 1989), the
20   court found that where the plaintiff admitted her only defense was the statute of limitations, the plaintiff’s
     injury—a tax refund offset to repay student loans—was not traceable to the government’s failure to provide
21   a notice listing all possible defenses, nor was it traceable to her failure to timely request an administrative
     hearing. YCS Investments v. United States Fish and Wildlife Service, 833 F. App’x 712 (9th Cir. 2021), is
22   a short, unpublished decision that also has nothing to do with the issues presented here. In YCS, the court
     held that the plaintiff lacked standing to challenge an Incidental Take Permit for the bay checkerspot
23   butterfly because nothing prevented YCS from conserving the butterfly on its own land. Id. at 713. D.L.
     v. Unified School District No. 497, 596 F.3d 768, 775 (10th Cir. 2010), and Pucket v. Hot Springs School
24   District No. 23-2, 526 F.3d 1151, 1162-63 (8th Cir. 2008), are also distinguishable because in those cases,
     the plaintiffs never asked the government to grant them the relief they sought. Conversely, Amazon sought
25   a stay of abatement, cured the employee notice defect, and then sought reconsideration. And in Taylor v.
     FDIC, 132 F.3d 753, 766-67 (D.C. Cir. 1997), the court held that the plaintiffs lacked standing to assert a
26   claim for reinstatement because they quit voluntarily to pursue employment elsewhere. The facts of Taylor
     have nothing to do with this case.
27   2
       L&I’s related argument that Amazon’s injury is “self-inflicted” lacks merit for the additional reasons
     already set out in Amazon’s Opposition to L&I’s Motion to Dismiss. See Dkt. 28 at 11-13.

     REPLY I/S/O PL.’S MOT. SUMM. J.                                                    Davis Wright Tremaine LLP
                                                                                                 L AW O FFICE S
     No. 2:22-cv-01404-JCC- 2                                                              920 Fifth Avenue, Suite 3300
                                                                                             Seattle, WA 98104-1610
                                                                                      206.622.3150 main · 206.757.7700 fax
              Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 8 of 18



 1 posts notice late (WAC 263-12-059(4)). Dkt. 1 at 8, ¶ 29. Furthermore, L&I concedes that the

 2 Board’s application of the rule affected the outcome, prejudicing Amazon. See Dkt. 10 at 13

 3 (admitting that if Amazon had posted the employee notice by April 18, then “the Board would

 4 have considered the merits …, and Amazon could have received a stay”).

 5          The cases L&I cites are inapposite. Van Ort v. Estate of Stanewich, 92 F.3d 831, 833-34

 6 (9th Cir. 1996), involved a § 1983 suit against a county for negligent supervision and hiring after

 7 an officer attempted to rob the plaintiffs on his day off. Because the county could not have foreseen

 8 that the officer would “become a free-lance criminal,” his private conduct broke the chain of

 9 causation (i.e., he was not acting under color of state law), and the court granted judgment as a
10 matter of law after trial. Id. at 837. Nothing remotely analogous happened here. Vilchez v. Holder,

11 682 F.3d 1195 (9th Cir. 2012), also provides no assistance to L&I. The plaintiff there alleged that

12 his due process rights were violated in part because a video conference compromised his credibility

13 in a removal proceeding. Id. at 1199-1200. But because the immigration judge did not make an

14 adverse credibility determination, the court found that the plaintiff could not show that the hearing

15 outcome would have been any different had it been conducted via live testimony. Id. Unlike

16 Amazon here, the plaintiff in Vilchez could not show that he was prejudiced by the procedures he

17 challenged.

18          B.      L&I’s Attack on Amazon’s As-Applied Challenge Lacks Merit.

19                  1.     L&I’s Arguments Do Not Defeat Amazon’s Showing of a Sufficient
                           Property Interest under the First Mathews Factor.
20          The first Mathews factor looks to whether a substantial property interest is at stake.
21 Mathews v. Eldridge, 424 U.S. 319, 335 (1976). Again, focusing myopically on the employee

22 notice requirement, L&I attacks Amazon’s property interest by arguing that Amazon failed to

23 allege any costs associated with posting employee notice under WAC 263-12-059(2). Dkt. 19

24 at 11. But the relevant costs are not posting costs; they are the millions of dollars Amazon must

25 spend to comply with L&I’s abatement requirements because WISHA’s stay of abatement

26 procedures deprived it of a meaningful opportunity to contest the prehearing abatement

27 obligations. See Dkt. 1 at 11-12, ¶¶ 40-43; 15-16, ¶¶ 52-54; Dkt. 12 at 12-14; Dkt. 16 at 6-7. L&I


     REPLY I/S/O PL.’S MOT. SUMM. J.                                           Davis Wright Tremaine LLP
                                                                                        L AW O FFICE S
     No. 2:22-cv-01404-JCC- 3                                                     920 Fifth Avenue, Suite 3300
                                                                                    Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax
              Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 9 of 18



 1 concedes that these “costs can be a property interest” for purposes of a due process claim. Dkt. 19

 2 at 11.

 3          L&I next claims that Amazon’s abatement costs are not “substantial” for two reasons.

 4 First, L&I’s witnesses speculate that the amount is less than $25 million but, tellingly, do not offer

 5 their own estimate nor do they deny that abatement might cost upwards of tens of millions of

 6 dollars. See Dkt. 19 at 23 n. 8. Further, that argument does not create a dispute of material fact.

 7 L&I has already conceded that Amazon faces a permanent deprivation of protected property,

 8 whether that is $25 million or half or a third of that.

 9          Second, L&I complains that Amazon has not alleged that the millions of dollars in costs

10 are so weighty as to impose any “economic hardship” or “jeopardize [its] … long-term profitability

11 and competitiveness.” Dkt. 19 at 12, 21-22, 23-24. But as in its Motion to Dismiss, L&I conflates

12 what constitutes a substantial property interest for purposes of the Due Process Clause with what

13 the government must show to prove that feasible means of abatement exist. See Dkt. 28 at 16.

14 These are separate, unrelated inquiries. If it were otherwise, then larger companies better able to

15 absorb costs of abatement would be afforded less due process than smaller ones even though the

16 protected property interest is the same. That is not the law. See Bd. of Regents of State Colls. v.

17 Roth, 408 U.S. 564, 570-71 (1972) (“to determine whether due process requirements apply…,

18 [courts] look not to the ‘weight’ but to the nature of the interest at stake.”). See also Dkt. 28 at 16.
19          L&I’s argument that financial costs constitute “minimal” property interests also fails. Dkt.

20 19 at 22-24. Although courts sometimes find that financial deprivations are less troubling than

21 others, it is often because the money is taken temporarily or can be recouped after a reasonably

22 prompt post-deprivation hearing. See Gen. Elec. Co. v. Jackson, 595 F. Supp. 2d 8, 30 (D.D.C.

23 2009), aff'd, 610 F.3d 110 (D.C. Cir. 2010) (citing City of Los Angeles v. David, 538 U.S. 715, 717

24 (2003)). Here it is undisputed that even if Amazon ultimately prevails at the merits hearing,

25 Amazon will be unable to recoup the tens of millions of dollars it will have spent to implement

26 L&I’s abatement measures. See Dkt. 19 at 22 (prehearing abatement costs are “nonrefundable.”)

27          L&I’s final argument, that it is “willing to accept Amazon’s full implementation of the


     REPLY I/S/O PL.’S MOT. SUMM. J.                                             Davis Wright Tremaine LLP
                                                                                          L AW O FFICE S
     No. 2:22-cv-01404-JCC- 4                                                       920 Fifth Avenue, Suite 3300
                                                                                      Seattle, WA 98104-1610
                                                                               206.622.3150 main · 206.757.7700 fax
             Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 10 of 18



 1 company’s own ergonomic plan” and that “[n]othing in L&I’s abatement suggestions require

 2 Amazon to redesign its warehouse,” is disingenuous and disregards the evidence. Dkt. 19 at 7,

 3 23. Amazon’s ergonomic plan outlines a process for identifying, assessing, and implementing

 4 controls for abating ergonomic hazards. See Dkt. 13-1 at 117-160. Amazon implemented its

 5 ergonomic plan at BFI4 before L&I’s inspection and, consistent with that plan, adopted various

 6 engineering and administrative controls (e.g., Destuff-IT and Restuff-IT conveyors, Safety School

 7 Training, WorkingWell Program, etc.). See Dkt. 13-1 at 110-115 & 163. L&I simply refuses to

 8 accept Amazon’s implementation as sufficient abatement. See Dkt. 28 at 17. According to L&I’s

 9 experts, additional “forklifts, motorized pallet jacks, or manual pulled Go Carts” should also be
10 used; the destuffers Amazon installed need to be modified; lifts, if not “replaced with slides,”

11 should have “height adjustable bottom[s];” and “vacuum lifts” should be used “to move heavy

12 objects.” Dkt. 13-1 at 271-72. L&I’s experts also testified that the “[p]rocurement,

13 implementation and installation of [these] control measures” along with “[t]esting, modification,

14 and acceptance” of the same is “required under the citation.” Id. at 274 (emphasis added). It is

15 impossible to read this testimony and conclude that L&I’s citation does not require Amazon to

16 implement additional costly engineering controls. Thus, when L&I says it will “accept”

17 implementation of Amazon’s ergonomic plan, what L&I really means is that Amazon must draw

18 the same conclusions as L&I and adopt L&I’s abatement measures.
19                  2.     L&I’s Arguments Do Not Defeat Amazon’s Showing of a Risk of
                           Erroneous Deprivation under the Second Mathews Factor.
20
                           a.      Denying a Stay Request Due to Late Employee Notice
21                                 Increases the Risks of Error.

22          L&I argues that the automatic denial of an employer’s stay request when an employer

23 provides late employee notice poses “no risk” of an erroneous property deprivation. Dkt. 19 at 15-

24 17. But when the Board denies a stay for that reason, it gives no consideration to the complexity

25 of the underlying citation, the merits of the stay request, or the costs of implementing unnecessary

26 abatement measures required by the citation. The Board’s policy of refusing to consider the merits

27 of stay requests thus increases the risk in those cases that employers will suffer erroneous property


     REPLY I/S/O PL.’S MOT. SUMM. J.                                           Davis Wright Tremaine LLP
                                                                                        L AW O FFICE S
     No. 2:22-cv-01404-JCC- 5                                                     920 Fifth Avenue, Suite 3300
                                                                                    Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax
             Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 11 of 18



 1 deprivations in the form of unnecessary abatement orders.

 2                          b.      The Supposed Safeguards Are Inadequate.

 3          L&I contends that the Board’s policy creates no risk of erroneous deprivations because

 4 employers can seek equitable tolling, move for reconsideration, or seek a writ of certiorari under

 5 RCW 7.16.040. See Dkt. 19 at 13-14, 16, 17. These arguments also fail. L&I admitted that

 6 equitable tolling is not available in cases like this. Dkt. 10 at 18 n.3. And none of the cited

 7 procedures provides constitutionally adequate protections against an erroneous property

 8 deprivation. See Dkt. 28 at 18-22.

 9          Motions for reconsideration offer no more assistance than equitable tolling, as this case

10 demonstrates. Amazon immediately cured the notice error on June 6, the next business day after

11 it received the Board’s denial of its stay request. Dkt. 28 at 12 n. 2. The Board nonetheless denied

12 Amazon’s motion for reconsideration on August 8, Dkt. 13-1 at 313-15, even though Amazon’s

13 employees received 63 days’ notice that Amazon had appealed the Citation and sought a stay of

14 its abatement obligations (substantially more notice than the 46 days they would have received

15 had Amazon posted employee notice on April 18, when it was originally due).

16          Writs of certiorari under RCW 7.16.040 are also unavailing. As Amazon has previously

17 explained, a writ of certiorari to review a Board’s denial of a stay of abatement request is not

18 available, as such decisions are administrative rather than adjudicatory in nature. See Dkt. 28 at
19 19-22 (providing analysis and authority). But even if that were otherwise, L&I cites no authority

20 to support its proposition that the possibility of seeking a writ cures procedural due process

21 violations. Such a holding would upend decades of cases holding that “where the state feasibly

22 can provide a predeprivation hearing before taking property, it generally must do so” regardless of

23 the adequacy of postdeprivation remedies. Zinermon v. Burch, 494 U.S. 113, 132 (1990).

24                          c.      WISHA’s Stay Procedures Do Not Comport with Due Process.

25          To avoid the obvious due process implications of WISHA’s compressed timeline and

26 truncated procedures for seeking a stay, L&I alleges that “the Board can and has extended the

27 time” for issuing a decision on stay requests, citing to the proceedings in this case and to a different


     REPLY I/S/O PL.’S MOT. SUMM. J.                                             Davis Wright Tremaine LLP
                                                                                          L AW O FFICE S
     No. 2:22-cv-01404-JCC- 6                                                       920 Fifth Avenue, Suite 3300
                                                                                      Seattle, WA 98104-1610
                                                                               206.622.3150 main · 206.757.7700 fax
                 Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 12 of 18



 1 matter involving Alaska Airlines. See Dkt. 19 at 5, 20. L&I is incorrect. Although the Board can

 2 grant extensions to file supporting papers, and did so here, it must issue a decision on a stay

 3 request within 45 working days of posting a notice of appeal. See RCW 49.17.140(5)(c); WAC

 4 263-12-059(3)(a). See also Dkt. 28 at 28-29. This “strict statutory timeline” cannot be moved,

 5 WAC 263-12-059(5), and L&I provides no evidence to the contrary. In neither the Alaska case

 6 nor this one did the Board extend the time for issuing a decision on a stay request. See Dkt. 21-1

 7 at 12, 15.3 And though it is true that the Board granted Amazon’s request for a two-week extension

 8 to file its supporting materials, such extensions have little ameliorating effect, as L&I still needs

 9 time to respond to an employer’s submission, and the Board needs time to consider the parties’
10 submissions before the 45 working days expire.

11              Compounding the problems attendant to this compressed timeline is that L&I’s decision to

12 issue Amazon a “serious, willful” citation under the General Duty Clause and order immediate

13 abatement of (unproven) ergonomic hazards is a highly fact-specific, complex, and technical

14 determination that relies heavily on several expert opinions. L&I’s decision is therefore one for

15 which a high risk of an erroneous property deprivation exists. Dkt. 12 at 19-21; Dkt. 28 at 24-29.

16 Indeed, L&I has already admitted that one of the abatement measures it identified for Amazon to

17 implement would serve no purpose at BFI4. See Dkt. 13-1 at 260.

18              L&I previously argued in its Motion to Dismiss that WISHA’s abbreviated procedures

19 comported with due process because the civil rules applied. See Dkt. 10 at 24. L&I appears to

20 have dropped those arguments, apparently conceding, as Amazon argued in its opposition papers,

21 that traditional tools of discovery (e.g., interrogatories, requests for production, requests for

22 admission, and subpoenas) are not available in Washington’s stay procedures. Dkt. 28 at 24-30.

23 Under WISHA’s compressed timeline, employers have almost no opportunity to probe the basis

24 for the opinions of the government’s experts or develop their own evidence in response.

25
     3
         In the Alaska case, the Board issued its decision on May 20, 2016, which corresponds to the forty fifth working
26 day after the Board accepted jurisdiction on March 17, 2016. Dkt. 21-1 at 12, 15. In this case, the Board had until
     June 7, 2022, to issue its decision on Amazon’s stay request, which corresponds to the forty fifth working day after
27 the Board accepted jurisdiction on April 4, 2022. Incidentally, the Board issued its decision on May 27, 2022,
     beating the deadline by three days.

     REPLY I/S/O PL.’S MOT. SUMM. J.                                                           Davis Wright Tremaine LLP
                                                                                                        L AW O FFICE S
     No. 2:22-cv-01404-JCC- 7                                                                     920 Fifth Avenue, Suite 3300
                                                                                                    Seattle, WA 98104-1610
                                                                                             206.622.3150 main · 206.757.7700 fax
             Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 13 of 18



 1          As explained in Amazon’s Motion for Summary Judgment, the Eleventh Circuit in

 2 Tennessee Valley Authority v. Whitman, 336 F.3d 1236, 1256-58 (11th Cir. 2003) (“TVA”), found

 3 a “patent violation” of due process under circumstances similar to those presented here. As in

 4 TVA, WISHA imposes an expedited schedule while “discovery [is] effectively unavailable.” Id.

 5 at 1246. Furthermore, employers “[are] not entitled to any compulsory process” and instead have

 6 to rely on “only those documents that the [government] voluntary divulge[s].” Id. Thus, even if

 7 live testimony and oral argument are not required, as L&I contends (see Dkt. 19 at 18), WISHA

 8 still denies employers a reasonable opportunity to collect evidence in support of stay requests in

 9 violation of the Due Process Clause.
10          L&I ignores TVA entirely, instead emphasizing the possibility of obtaining records through

11 Public Records Act requests under Chapter 42.56 RCW. See, e.g., Dkt. 19 at 5, 19, 24. But as this

12 case shows, that process leaves the scope and timing of L&I’s production to L&I’s discretion.

13 Amazon submitted its request on March 28, and it took L&I until April 18 to provide some but not

14 all of the data and information requested. Dkt. 13 at 3-4. This left Amazon only two weeks to

15 review L&I’s production, assess whether it was complete (it was not), identify the data and

16 information it believed was still missing, and prepare its own expert reports (there was no time or

17 opportunity to probe L&I’s experts’ conclusions in a deposition or cross-examination). Although

18 Amazon was able to scramble to submit expert reports based on the incomplete information
19 available to it in the limited time available, that does not mean the process was fair or that it

20 comported with minimum due process requirements. Two weeks was insufficient time, given the

21 complexity of the alleged ergonomic hazards at issue.

22                 3.      L&I’s Analysis of the Third Mathews Factor Is Also Flawed.

23          The third Mathews factor considers the government’s interest and the fiscal and

24 administrative burdens that adopting substitute procedures would entail. 319 U.S. at 335. L&I

25 invokes the importance of protecting public safety and the government’s interest in providing

26 employees notice of an appeal. See, e.g., Dkt. 19 at 12. These are legitimate government interests,

27 but they are not the only factors to be weighed, and those interests do not defeat Amazon’s claims.


     REPLY I/S/O PL.’S MOT. SUMM. J.                                          Davis Wright Tremaine LLP
                                                                                       L AW O FFICE S
     No. 2:22-cv-01404-JCC- 8                                                    920 Fifth Avenue, Suite 3300
                                                                                   Seattle, WA 98104-1610
                                                                            206.622.3150 main · 206.757.7700 fax
             Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 14 of 18



 1 See generally Dkts. 12 and 28.

 2          “[I]t is fundamental that except in emergency situations (and this is not one) due process

 3 requires that when a State seeks to terminate (a protected) interest … it must afford ‘notice and

 4 opportunity for hearing appropriate to the nature of the case’ before the termination becomes

 5 effective.” Roth, 408 U.S. at 576-77 (quoting Bell v. Burson, 402 U.S. 535, 542 (1971)); see also

 6 Zinermon, 494 U.S. at 132. This rule applies even when a government is acting pursuant to its

 7 police powers to protect public health and safety. Cf. Mansour v. King County, 131 Wn. App. 255,

 8 260, 272 (2006) (decision that dog had to be euthanized or removed from the county for exhibiting

 9 “vicious propensities” violated due process because the owner could not conduct discovery, issue
10 subpoenas, or cross-examine experts). And for the reasons Amazon has already explained, the

11 hearing provided under WISHA’s stay of abatement regimes is not “appropriate to the nature of

12 the case.” See, e.g., Dkt. 12 at 19-22; 26-28.

13          L&I tries to avoid these settled principles by claiming “prompt action is required to protect

14 public health safety” and that the government has a compelling interest “in avoiding drawn out

15 proceedings.” Dkt. 19 at 13, 14. But L&I also says that “Amazon could receive additional time

16 to comply, with the possibility of over a year to abate.” Dkt. 19 at 7. Saying an employer could

17 take up to a year to implement abatement measures is inconsistent with L&I’s claim that it needs

18 to act promptly, and if a year’s delay is acceptable to L&I, then it can wait until after a hearing on
19 the merits of a citation before imposing the abatement obligations.

20          In any event, even if “prompt action is required,” L&I’s argument still fails. L&I can

21 proceed under RCW 49.17.130 instead of RCW 49.17.140 when it needs to impose immediate

22 abatement obligations. Doing so would provide employers more protections against erroneous

23 property deprivation, including prompt superior court review. L&I disputes this, claiming that

24 RCW 49.17.130 does not provide additional protections over RCW 49.17.140 because it

25 authorizes the government to seek a temporary restraining order. Dkt. 19 at 21. But L&I is wrong

26 again. TROs expire in 14 days (Amazon, by contrast, risks a permanent deprivation of protected

27 property), and the TRO process contemplated by RCW 49.17.130 leads to preliminary and,


     REPLY I/S/O PL.’S MOT. SUMM. J.                                            Davis Wright Tremaine LLP
                                                                                         L AW O FFICE S
     No. 2:22-cv-01404-JCC- 9                                                      920 Fifth Avenue, Suite 3300
                                                                                     Seattle, WA 98104-1610
                                                                              206.622.3150 main · 206.757.7700 fax
             Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 15 of 18



 1 ultimately, permanent injunctions under procedures that afford discovery, presentation of

 2 testimony, cross-examination, and oral argument. See Wash. Civ. R. 65.

 3          L&I’s arguments regarding the fiscal and administrative burdens that it contends would

 4 come with different procedures do not tip the balance in L&I’s favor. See Dkt. 19 at 14, 17-21.

 5 WISHA’s stay procedures are an aberration. Every other jurisdiction affords more protections

 6 against erroneous property deprivations than WISHA, proving that governments can protect public

 7 health and safety without trampling on employers’ due process rights. See Dkt. 12 at 23-24. L&I’s

 8 argument that it would not be “practical … to have different procedures” for ergonomics cases

 9 similarly fails. See Dkt. 19 at 21. Because the existing procedures deprive employers of due
10 process, the government can and must adopt better procedures that provide sufficient protection in

11 all cases in which L&I requires pre-hearing abatement.

12          C.      L&I’s Opposition to Amazon’s Facial Challenge Also Fails.

13          L&I claims that when considering Amazon’s facial challenge, “[t]he Court must consider

14 all employers subject to RCW 49.17.140 and WAC 263-12-059, and all workplace safety cases.”

15 Dkt. 19 at 14. L&I misunderstands how courts analyze facial challenges.

16          Courts routinely recognize that a facial challenge can attack a “subset of applications.”

17 Mwimanzi v. Wilson, 590 F. Supp. 3d 231, 247, 252 (D.D.C. 2022) (invalidating a subset of search

18 warrants as facially unconstitutional under the Fourth Amendment). This stems from the rule that
19 when assessing facial challenges, courts “consider[] only applications of the statute in which it

20 actually authorizes or prohibits conduct.” City of Los Angeles, Calif. v. Patel, 576 U.S. 409, 418

21 (2015). That is, the “proper focus of the constitutional inquiry is [on] the group for whom the law

22 is a restriction, not the group for whom the law is irrelevant.” Id. (citations and quotation marks

23 omitted).

24          The relevant subset of applications here includes cases in which an employer appeals a

25 citation under the General Duty Clause ordering immediate abatement of ergonomic hazards and

26 seeks a stay of those abatement obligations. Dkt. 1 at 16; Dkt. 12 at 17. As Amazon has argued

27 at length, no set of circumstances exists in which the process for seeking a stay is constitutionally


     REPLY I/S/O PL.’S MOT. SUMM. J.                                           Davis Wright Tremaine LLP
                                                                                        L AW O FFICE S
     No. 2:22-cv-01404-JCC- 10                                                    920 Fifth Avenue, Suite 3300
                                                                                    Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax
             Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 16 of 18



 1 adequate. See Dkt. 12 at 17-24. In response, L&I points to an ergonomic hazard abatement plan

 2 at a medical facility that imposed no costs because the facility already owned patient lifts; it just

 3 had not yet begun to use them. Dkt. 19 at 11. The problem with this example (and the other

 4 examples L&I offers) is that it does not involve the application of the procedures Amazon is

 5 challenging in this suit. In L&I’s example, there is no indication that the medical center sought

 6 but was denied a stay of its abatement obligations. In cases where abatement imposes no cost to

 7 the employer, as in L&I’s example, it is exceedingly unlikely that the employer would go through

 8 the trouble and expense of attempting to litigate the abatement obligation or seek a stay. The

 9 situations that L&I posits are “the group for whom the law is irrelevant,” Patel, 576 U.S. at 418
10 (citations and quotation marks omitted), and thus do not defeat Amazon’s facial challenge.

11          L&I next offers three examples of cases in which the Board granted a stay as evidence that

12 WISHA’s stay of abatement procedures do not deprive employers of a meaningful predeprivation

13 hearing. See Dkt. 19 at 18; Dkts. 21-1, 21-2, 21-3. But the fact that the Board sometimes grants

14 stay requests does not render the procedures constitutional. And of the three examples provided,

15 only one—the Alaska Airlines matter—involved ergonomic standards, and that case is irrelevant

16 because the Board granted the stay request because Alaska Airlines was not the employer of

17 affected workers. See generally Dkt. 21-1.

18          D.      L&I’s Response to Amazon’s Substantive Due Process Challenge Fails.

19          Regarding Amazon’s substantive due process claim, L&I argues that “it is not arbitrary to

20 require an employer to pay to correct hazards it created.” Dkt. 19 at 26. But here L&I has not yet

21 established that any hazard exists: WISHA imposes an unconstitutional presumption that

22 employers violated the law, denies them an opportunity to prove their innocence, requires that they

23 certify under penalty of criminal liability that the alleged hazards exist, and permanently deprives

24 them of substantial property interests (up to $25 million in this case), before any hearing on the

25 merits of the citation. There is no legitimate government interest served by WISHA’s punishment

26 before trial regime. See Dkt. 12 at 28-29; Dkt. 28 at 31-32.

27          L&I argues that it is not unconstitutional to place the burden of proof on a party seeking a


     REPLY I/S/O PL.’S MOT. SUMM. J.                                           Davis Wright Tremaine LLP
                                                                                        L AW O FFICE S
     No. 2:22-cv-01404-JCC- 11                                                    920 Fifth Avenue, Suite 3300
                                                                                    Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax
             Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 17 of 18



 1 stay. Dkt. 19 at 26. But, again, that is not Amazon’s argument. It is appropriate to place the

 2 burden of proof on the party that seeks a stay of a district court’s order entered after a meaningful

 3 adjudication of the merits of an underlying claim for relief. See Doe #1 v. Trump, 957 F.3d 1050

 4 (9th Cir. 2020). But that is not what happens under WISHA’s stay of abatement regime. Instead,

 5 WISHA deprives employers of property by compelling them to abate unproven ergonomic hazards

 6 before the government proves a violation exists and before the employer has a meaningful chance

 7 to challenge the citation. And in the abbreviated process that is available, WISHA puts the burden

 8 of proof on the employer and not on the government. This is fundamentally unfair and unsupported

 9 by a legitimate government interest.
10          Nor does a rational basis exist for forcing employers to sign the Employer Certification of

11 Abatement form, which requires employers to certify under penalty of criminal liability that

12 hazards exist and that feasible means of abatement exist. Evidence Rule 407 does not protect

13 employers as L&I claims because that rule expressly allows for the admission of such sworn

14 statements both for impeachment and to show feasibility of precautionary measures. See Dkt. 28

15 at 27. Requiring full pre-hearing abatement and a signed certification before a hearing forces

16 employers to cede core defenses and relieves L&I of its burden to prove the elements of its case.

17 See Dkt. 12 at 14; Dkt. 28 at 26-27.

18          In ergonomics cases involving a pre-hearing abatement requirement, WISHA presumes

19 that employers have violated the law, requires that they incur costs to abate alleged hazards, and

20 deprives them of any real opportunity to rebut the presumption. As the Supreme Court observed,

21 “[a] statute creating a presumption that is arbitrary, or that operates to deny a fair opportunity to

22 repel it, violates the due process clause of the Fourteenth Amendment.” W. & A.R.R. v. Henderson,

23 279 U.S. 639, 642 (1929). WISHA’s stay of abatement procedure does both.

24                                        III.   CONCLUSION

25          For the foregoing reasons, Amazon respectfully requests that the Court grant Amazon’s

26 Motion for Summary Judgment and issue appropriate declaratory relief.

27


     REPLY I/S/O PL.’S MOT. SUMM. J.                                           Davis Wright Tremaine LLP
                                                                                        L AW O FFICE S
     No. 2:22-cv-01404-JCC- 12                                                    920 Fifth Avenue, Suite 3300
                                                                                    Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax
             Case 2:22-cv-01404-JCC Document 29 Filed 01/06/23 Page 18 of 18



 1          DATED this 6th day of January 2023.

 2                                            DAVIS WRIGHT TREMAINE LLP
                                              Attorneys for Plaintiff Amazon.com Services LLC
 3

 4                                            By: s/ Harry J. F. Korrell
                                                 Harry J. F. Korrell, WSBA #23173
 5                                               Jeffrey B. Youmans, WSBA #26604
                                                 Joseph Hoag, WSBA #41971
 6                                               John Hodges-Howell, WSBA #42151
                                                 920 Fifth Avenue, Suite 3300
 7                                               Seattle, WA 98104-1610
                                                 Telephone: 206-757-8080
 8                                               Fax: 206-757-7080
                                                 Email: HarryKorrell@dwt.com
 9                                               Email: JeffreyYoumans@dwt.com
                                                 Email: JosephHoag@dwt.com
10                                               Email: JHodgesHowell@dwt.com

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27


     REPLY I/S/O PL.’S MOT. SUMM. J.                                     Davis Wright Tremaine LLP
                                                                                  L AW O FFICE S
     No. 2:22-cv-01404-JCC- 13                                              920 Fifth Avenue, Suite 3300
                                                                              Seattle, WA 98104-1610
                                                                       206.622.3150 main · 206.757.7700 fax
